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                                  UNITED STATES DISTRICT COURT
                                    DISTRICT OF CONNECTICUT


    ONTARIO TEACHERS’ PENSION PLAN
    BOARD, et al.,                                                        No. 3:17-cv-558 (SRU)
        Plaintiffs,

            v.

    TEVA PHARMACEUTICAL
    INDUSTRIES LTD., et al.,
         Defendants.

                                                       ORDER

         This order addresses the parties’ 1 joint motion to consolidate this case and nineteen other

similar cases pending before me (the “Related Actions”). See Joint Mot. to Consolidate Cases,

Doc. No. 311. Of those cases, four are putative class actions (the “Putative Class Actions”), 2 and

sixteen are individual actions in which the plaintiffs have indicated they will opt out of any

potential class (the “Direct Actions”). 3 The parties’ joint motion—“joint” in that the Plaintiffs



1
  The “parties” refers to the Plaintiffs—Lead Plaintiff Ontario Teachers’ Pension Plan Board and Named Plaintiff
Anchorage Police & Fire Retirement System—and the Defendants—Teva Pharmaceutical Indus., Ltd., Erez
Vigodman, Eyal Desheh, Sigurdur Olafsson, Deborah Griffin, Kåre Schultz, Michael McClellan, Yitzhak Peterburg,
and Teva Pharmaceutical Finance Netherlands III B.V.—in this action. The Defendants include the two defendants
added to this action in the Second Amended Complaint (Schultz and McClellan).
2
  The Putative Class Actions are: (1) Ontario Teachers’ Pension Plan Board, et al. v. Teva Pharm. Indus. Ltd., et al.,
No. 3:17-cv-558; (2) Huellemeier v. Teva Pharm. Indus., Ltd., et al., No. 3:17-cv-1938; (3) Grodko v. Teva Pharm.
Indus., Ltd., et al., No. 3:18-cv-800; (4) Emps.’ Ret. Sys. of the City of St. Petersburg, Florida v. Teva Pharm.
Indus., Ltd., et al., No. 3:19-cv-1768.
3
  The Direct Actions are: (1) OZ ELS Master Fund, Ltd., et al. v. Teva Pharm. Indus., Ltd., et al., No. 3:17-cv-1314;
(2) Nordea Investment Mgmt. AB v. Teva Pharm. Industries Ltd., et al., No. 3:18-cv-1681; (3) Revenue, et al. v.
Teva Pharm. Indus., Ltd., et al., No. 3:18-cv-1721; (4) Pacific Funds Series Trust, et al. v. Teva Pharm. Indus., Ltd.,
et al., No. 3:18-cv-1956; (5) Public School Teachers Pension and Ret. Sys. of Chicago v. Teva Pharm. Indus., Ltd,
No. 3:19-cv-175; (6) Schwab Capital Trust, et al. v. Teva Pharm. Indus., Ltd., et al., No. 3:19-cv-192; (7) Phoenix
Ins. Co., Ltd., et al. v. Teva Pharm. Indus., Ltd., et al., No. 3:19-cv-449; (8) Mivtachim The Workers Social Ins.
Fund Ltd., et al. v. Teva Pharm. Indus., Ltd., et al., No. 3:19-cv-513; (9) Clal Ins. Co., Ltd., et al. v. Teva Pharm.
Indus., Ltd., et al., No. 3:19-cv-543; (10) Highfields Capital I LP, et al. v. Teva Pharm. Indus., Ltd., et al., No. 3:19-
cv-603; (11) Migdal Ins. Co., Ltd., et al. v. Teva Pharm. Indus., Ltd., et al., No. 3:19-cv-655; (12) Harel Pension
and Provident Ltd., et al. v. Teva Pharm. Indus., Ltd., et al., No. 3:19-cv-656; (13) Oregon v. Teva Pharm. Indus.,
Ltd., et al., No. 3:19-cv-657; (14) Migdal Mutual Funds, Ltd. v. Teva Pharm. Indus., Ltd., et al., No. 3:19-cv-923;
(15) Psagot Mutual Funds, Ltd., et al. v. Teva Pharm. Indus., Ltd., et al., No. 3:19-cv-1167; (16) Stiching PGGM
Depositary, et al. v. Teva Pharm. Indus., Ltd., et al., No. 3:19-cv-1173.
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and Defendants in this action filed the motion jointly—was filed in nineteen of the twenty

Related Actions. 4 Since the time that the parties fully briefed this consolidation issue, another

similar case has been transferred to me. 5

         This order also addresses a party’s related motion to intervene in this case. See Mot. to

Intervene, Doc. No. 312. The party seeking to intervene is HMG Global Initiative, Inc.

(“HMG”). HMG is one of two possible lead plaintiffs in Emps.’ Ret. Sys. of the City of St.

Petersburg, Florida v. Teva Pharm. Indus., Ltd., et al., No. 3:19-cv-1768 (“St. Petersburg”).

         For the reasons that follow, the parties’ joint motion to consolidate, doc. no. 311, is

granted and HMG’s motion to intervene, doc. no. 312, is denied. The Putative Class Actions

shall be consolidated for all purposes and the Direct Actions shall be consolidated for all pre-trial

purposes. 6 That consolidation is subject to alteration at any time for good cause shown, or if the

structure established proves detrimental, in any way, to the best interest of the plaintiffs. See In

re Facebook, Inc., IPO Securities and Derivative Litigation, 288 F.R.D. 26, 31 (S.D.N.Y. 2012).

    I.       Relevant Background

         This case (Ontario Teachers’) was filed on November 6, 2016 in the Central District of

California. See Compl., Doc. No. 1. It was transferred to the District of Connecticut on April 3,

2017. See Order, Doc. No. 74. On July 11, 2017, pursuant to the procedure outlined in the

Private Securities Litigation Reform Act (“PSLRA”), I appointed Ontario Teachers’ Pension

Plan Board (“Ontario Teachers’”) as lead plaintiff of this purported class action. See Order, Doc.



4
  Even though the parties’ joint motion did not technically encompass OZ ELS, No. 3:17-cv-1314, the same joint
motion was filed in OZ ELS. As the parties note in their submission on the OZ ELS docket, the reason for treating
OZ ELS differently from the other nineteen Related Actions is that lead counsel for the defendants in this action and
in OZ ELS are not the same. See Defs.’ Mot. to Consolidate, OZ ELS, Doc. No. 53, at 2 n.1. The defendants in OZ
ELS seek consolidation, too. See id.
5
  On January 31, 2020, the following case was transferred to me: Internationale Kapitalanlagegesellschaft mbH v.
Teva Pharm. Indus., Ltd., et al., No. 3:20-cv-83.
6
  I will issue a subsequent Order that details the logistics of consolidation.

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No. 124, at 27; 15 U.S.C. § 78u-4(a)(3)(B)(i) (requiring a court to “appoint as lead plaintiff the

member or members of the purported plaintiff class that the court determines to be most capable

of adequately representing the interests of class members . . .”). Shortly thereafter, Anchorage

Police & Fire Retirement System (“Anchorage Police”) was added to this case as a Named

Plaintiff. See Am. Order, Doc. No. 137. Together, Ontario Teachers’ and Anchorage Police are

the “Plaintiffs.”

        The Plaintiffs have amended the complaint on numerous occasions. See Am. Compls.,

Doc. Nos. 129, 138, 141, 226, and 310. On April 3, 2018, I granted several motions to dismiss

the then-operative consolidated class action complaint. See Order, Doc. No. 215. On June 22,

2018, the Plaintiffs re-filed an amended consolidated class action complaint. See Am. Compl.,

Doc. No. 226 (the “First Amended Consolidated Class Action Complaint” or “FAC”). The FAC

alleged that over the class period—from February 6, 2014 to August 3, 2017—the Defendants

had artificially inflated Teva’s stock price by falsely attributing Teva’s strong financial results to

fundamental business strategies rather than sharp increases in generic drug prices. See FAC,

Doc. No. 226, at ¶ 1. In addition, the Plaintiffs alleged that the Defendants colluded with other

generic drug manufacturers to fix prices for some subset of drugs. See id. at ¶ 15. Based on that

behavior, the Plaintiffs alleged violations of Sections 10(b) and 20(a) of the Securities Exchange

Act of 1934 (“Exchange Act”), 15 U.S.C. §§ 78j(b), 78t(a), and Rule 10b-5 promulgated

thereunder, 17 C.F.R. § 240.10b-5, and Sections 11, 12(a)(2) and 15 of the Securities Act of

1933 (“Securities Act”), 15 U.S.C. §§ 77k(a), 77l(a)(2), and 77o(a). See id. at ¶¶ 341–47, 397–

422.

        Defendants made motions to dismiss the FAC soon after it had been filed. On September

25, 2019, I denied in substantial part and granted in part various motions to dismiss the FAC.



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See Order, Doc. No. 283. At that point, the remaining six defendants in this case were: Teva

Pharm. Indus., Ltd., Erez Vigodman, Eyal Desheh, Sigurdur Olafsson, Deborah Griffin, and

Teva Pharm. Finance Netherlands III B.V. Since 2017, numerous cases related to this case have

been transferred to me from other districts and from other judges within this district.

        On November 13, 2019, I held a Rule 16 pretrial conference in this case. See Min. Entry,

Doc. No. 297. On November 18, 2019, I filed a Case Management Order that governs the

schedule for the remainder of this litigation. See Order, Doc. No. 298. In that Order, I instructed

the parties to “make submissions regarding the consolidation of this case and the 19 other related

actions pending before me no later than December 13, 2019.” See id. at 1.

        On December 13, 2019, the parties filed a joint motion to consolidate all twenty Related

Actions. The parties propose consolidating the Putative Class Actions for all purposes and the

Direct Actions for all pre-trial purposes. See Joint Mot. to Consolidate, Doc. No. 311, at 4. Also

on December 13, 2019, the Plaintiffs filed an amended consolidated class action complaint (the

“Second Amended Consolidated Class Action Complaint” or “SAC”) with the Defendants’

consent, pursuant to Federal Rule of Civil Procedure 15(a)(2), which allows a party to amend its

pleading “with the opposing party’s written consent.” See SAC, Doc. No. 310; Notice, Doc. No.

309. In general, the SAC expands the class period and adds claims and parties to erase

differences between this case and the other three Putative Class Actions. Whether the SAC is an

appropriate pleading is a subject of contention and is addressed below.

        As noted on the docket in each Related Action, the defendants in all the Related

Actions—who are largely the same as in this action but sometimes include or omit certain Teva

officers—consent to the parties’ joint motion to consolidate. On December 20, 2019, the

Plaintiffs in all the Direct Actions filed a joint opposition to the parties’ joint motion to



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consolidate. That joint opposition appears on the docket in all but one Direct Action. 7 The joint

opposition essentially argues that the Direct Actions should be coordinated—not consolidated—

with this action. On January 3, putative lead plaintiffs in two of the Putative Class Actions—St.

Petersburg and Huellemeier v. Teva Pharmaceutical Indus., Ltd., et al., No. 3:17-cv-1938

(“Huellemeier”)—filed oppositions to the parties’ joint motion to consolidate. On January 17,

the parties in this action filed a joint omnibus reply in all but one 8 of the Related Actions in

further support of consolidation. On January 23, the plaintiffs in thirteen of the sixteen Direct

Actions filed a joint supplemental opposition to the parties’ joint omnibus reply in favor of

consolidation. 9 On January 29, the parties in this action filed a joint response to the Direct

Action plaintiffs’ joint supplemental reply. See Reply, Doc. No. 334.

          With respect to the pending motion to intervene, HMG filed the motion in this action on

December 20, 2019. See Mot. to Intervene, Doc. No. 312. The Defendants and Plaintiffs filed

separate oppositions on January 17, 2020. See Mems. in Opp’n, Doc. Nos. 324 and 325. On

January 31, 2020, HMG filed a reply. See Reply, Doc. No. 335.


    II.      Discussion

          A. The Law on Consolidation of Class Actions

          “If actions before the court involve a common question of law or fact, the court may . . .

consolidate the actions.” Fed. R. Civ. P. 42(a). Whether to consolidate pending actions is a



7
  The exception, again, is OZ ELS, in which the plaintiffs filed a response “join[ing] in, and expressly adopt[ing] and
incorporat[ing] the argument set forth” in the Direct Action Plaintiffs’ joint opposition. See Response, OZ ELS,
Doc. No. 56, at 1.
8
  The parties did not file the reply in Grodko, No. 3:18-cv-800, because no opposition was filed in Grodko.
9
  The joint supplemental opposition was not filed in (1) Public School Teachers Pension and Ret. Sys. of Chicago v.
Teva Pharm. Indus., Ltd, No. 3:19-cv-175 (“Chicago”), (2) Oregon v. Teva Pharm. Indus., Ltd, et al., No. 3:19-cv-
657 (“Oregon”), and (3) OZ ELS. It was likely a simple oversight that the joint supplemental opposition was not
filed in Chicago and Oregon. Plaintiffs’ counsel in both cases is the same, and the joint supplemental opposition
includes both cases in its case caption.

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question within the discretion of the court. See Sallustro v. CannaVest Corp., 93 F. Supp. 3d

265, 269 (S.D.N.Y. 2015) (internal citations omitted). In exercising its discretion, a court should

consider

               whether the specific risks of prejudice and possible confusion [are]
               overborne by the risk of inconsistent adjudications of common factual and
               legal issues, the burden on the parties, witnesses, and available judicial
               resources posed by multiple lawsuits, the length of time required to
               conclude multiple suits as against a single one, and the relative expense to
               all concerned of the single-trial, multiple-trial alternatives.

Johnson v. Celotex Corp., 899 F.2d 1281, 1285 (2d Cir. 1990). Of course, “efficiency cannot be

permitted to prevail at the expense of justice.” Devlin v. Transportation Comm’ns Intern. Union,

175 F.3d 121, 130 (2d Cir. 1999).

       Consolidation of “stockholders’ suits often benefits both the courts and the parties by

expediting pretrial proceedings, avoiding duplication of discovery, and minimizing costs.”

Rauch v. Vale S.A., 378 F. Supp. 3d 198, 205 (E.D.N.Y. 2019) (quoting In re Olsten Corp. Sec.

Litig., 3 F. Supp. 2d 286, 294 (E.D.N.Y. 1998) (internal quotation marks omitted)). “In

securities actions where the complaints are based on the same ‘public statements and reports’

consolidation is appropriate if there are common questions of law and fact and the defendants

will not be prejudiced.” Werner v. Satterlee, Stephens, Burke & Burke, 797 F. Supp. 1196, 1211

(S.D.N.Y. 1992) (quoting Lloyd v. Industrial Bio-Test Laboratories, Inc., 454 F. Supp. 807, 812

(S.D.N.Y. 1978)).

       The requirement that separate actions involve a common question of law or fact does not

mean that the actions must be identical. See Rauch, 378 F. Supp. 3d at 204 (citing Reitan v.

China Mobile Games & Entm’t Grp., Ltd., 68 F. Supp. 3d 390, 394 (S.D.N.Y. 2014)). Indeed,

“[d]ifferences in causes of action, defendants, or the class period do not render consolidation

inappropriate if the cases present sufficiently common questions of fact and law, and the

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differences do not outweigh the interests of judicial economy served by consolidation.” Kaplan

v. Gelfond, 240 F.R.D. 88, 91 (S.D.N.Y. 2007) (citing Pinkowitz v. Elan Corp., 2002 WL

1822118, at * 3–4 (S.D.N.Y. July 29, 2002)); see also In re Facebook, 288 F.R.D. at 35.

       B. Consolidation of the Putative Class Actions for all purposes is appropriate.

           1. Grodko v. Teva Pharm. Indus., Ltd., et al., No. 3:18-cv-800 (“Grodko”)

       Grodko was filed in the Eastern District of Pennsylvania on August 21, 2017. The

Grodko complaint alleged—on behalf of a putative class of those who had acquired Teva ADS

or Teva common stock through the Tel Aviv Stock Exchange between November 15, 2016 and

August 2, 2017—violations of the Sections 10(b) and 20(a) of the Exchange Act, and Rule 10b-5

promulgated thereunder, and the Israeli Securities Law of 1968. See Compl., Grodko, Doc. No.

1, at ¶ 1. The Grodko complaint listed as defendants Teva, Erez Vigodman, Eyal Desheh, and

Yitzhak Peterburg. See id. at ¶¶ 10–13.

       Grodko itself is a consolidated class action. Baker v. Teva Pharmaceutical Indus., Ltd.,

et al., No. 3:18-cv-798 (“Baker”), was filed in the Eastern District of Pennsylvania on August 30,

2017. The Baker complaint asserted the same class, the same class period, and the same

violations of federal securities law against the same defendants as in Grodko (but it did not allege

violations of Israeli law). See Compl., Baker, Doc. No. 1, at ¶¶ 1, 10–13. Baker was

consolidated into Grodko on November 1, 2017. See Order, Grodko, Doc. No. 16. However, on

October 23, 2017, Grodko had voluntarily dismissed his complaint because, in part, “a case filed

in the United States District Court for the District of Connecticut was expanded to include the

claims filed by Plaintiff in this matter.” See Notice, Grodko, Doc. No. 11. Grodko was referring

to this action. Other parties moved to be lead plaintiff in Grodko, but District Judge Paul




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Diamond did not rule on those motions and, instead, transferred Grodko to this court on April 10,

2018. See Order, Grodko, Doc. No. 37.

         In transferring the consolidated Grodko action to this court, Judge Diamond noted that

“[a]lthough the Connecticut action is broader than Grodko and Baker, it encompasses the class

members, defendants, and allegations present in” Grodko and Baker. See id. at 9. Grodko and

Baker were transferred to this court on two separate dockets. 10 Since the cases have been in this

court, there has been no activity on either docket: neither case has a lead plaintiff, operative

complaint, or even a plaintiff pursuing a claim. Further, no party in either case has objected to

the parties’ joint motion to consolidate Grodko and Baker into this action.

         I will consolidate Grodko and Baker into this action. 11 Those cases and this action

clearly involve common questions of law and fact. The FAC in this action subsumed the class

period, federal securities law claims, and defendants in both Grodko and Baker. Grodko and

Baker focus on Teva’s misrepresentations with respect to its acquisition and integration of

Actavis Generics; the FAC also included numerous allegations about that acquisition. See FAC,

Doc. No. 226, at ¶¶ 79–127. The parties also report that the SAC “eliminates any areas in which

the Grodko/Baker Complaint and the [FAC] previously lacked complete overlap.” Joint Mot. to

Consolidate, Doc. No. 311, at 10.

         However, the Grodko complaint does assert a claim based on violation of the Israeli

Securities Law of 1968. See Compl., Grodko, Doc. No. 1, at ¶¶ 60–63. Neither the FAC nor

SAC asserts such a claim. The Plaintiffs in this action have explained that they declined to add




10
  Grokdo’s docket is No. 3:18-cv-800, and Baker’s docket is No. 3:18-cv-798.
11
  As described, Baker was already consolidated into Grodko in the Eastern District of Pennsylvania, so
consolidating Grodko into this action should also consolidate Baker into this action. However, because Grodko and
Baker were transferred to this District on two different dockets, for the sake of clarity, I formally consolidate both
Grodko and Baker into this action.

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any claims based on violations of Israeli law to the SAC because, first, they expect that such

claims will be dismissed. See Joint Mot. to Consolidate, Doc. No. 311, at 6 n.5 (citing In re

Mylan N.V. Sec. Litig., 2018 WL 1595985, at *18–20 (S.D.N.Y. Mar. 28, 2018), in which the

court declined to exercise supplemental jurisdiction over Israeli law claims). In addition, even if

those claims are not dismissed, the Plaintiffs say, they are based on common question of law and

fact to the federal securities law claims alleged in this action.

       I find that the SAC’s omission of claims based on violations of Israeli law does not defeat

consolidation. Recall that separate actions need not be identical to consolidate them: rather, they

must involve common questions of law and fact. There is no question that the claims in Grodko

and Baker and this action are substantially similar and involve numerous common questions of

law and fact. Indeed, the Grodko complaint’s claim for a violation of the Israeli Securities Law,

1968 premises liability on violations of Sections 10(b) and 20(a) of the Exchange Act and Rule

10b-5. See Compl., Grodko, Doc. No. 1, at ¶ 62–63. Thus, consolidation will not prejudice the

Grodko/Baker plaintiffs because the facts and law undergirding their claim based on violation of

Israeli law are, in their own view, almost identical to the facts and law undergirding their claims

based on violations of federal securities law. Thus, discovery would be nearly identical for both

types of claims.

           2. Huellemeier

       Huellemeier was filed in the Southern District of Ohio on July 17, 2017. The original

Huellemeier complaint alleged—on behalf of “all persons who purchased or otherwise acquired”

Teva ADS “between February 9, 2015 and November 3, 2016 . . . in the ESPP”—that the

defendants violated Section 11 of the Securities Act and state common law by making

misrepresentations in the 2010 Registration Statement and documents it incorporated by



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reference. See Compl., Huellemeier, Doc. No. 1, at ¶¶ 1, 109–36. Huellemeier explains that

only Teva employees could purchase ADS pursuant to Teva’s Employee Stock Purchase Plan

(“ESPP”). When an employee wished to do so, the ADS were “held in the ESPP via payroll

deductions . . . and were not purchased on the open market.” Huellemeier’s Opp’n, Doc. No. 47,

at 9. The defendants in Huellemeier moved to transfer, and the court granted transfer on

November 17, 2017.

           In doing so, District Judge Susan Dlott noted numerous similarities between Huellemeier

and this action. First, three of the four defendants in Huellemeier were defendants in this action.

See Order, Huellemeier, Doc. No. 17, at 9. (And Hullemeier’s counsel has agreed to voluntarily

dismiss the fourth, Shlomo Yanai, because Yanai stopped working for Teva before the class

period in either Huellemeier or this action began. 12) Second, the class period in Huellemeier was

subsumed by the class period in this action. Id. Judge Dlott even noted: “It would appear that

Huellemeier himself falls within the class defined in the Ontario Teachers[’] action as a person

who purchased or acquired Teva shares between February 6, 2014 and August 3, 2017.” Id.

That was because the complaint in this action “does not explicitly limit the proposed class to

those who purchased shares on the open market.” Id. at 8. Third, both actions involved a claim

for violation of Section 11 of the Securities Act, allegations that Teva engaged in price-fixing,

and alleged misrepresentations and omissions in Teva’s 2014 and 2015 20-F Forms. Id. at 9.

Judge Dlott concluded: “Based on these similarities, it is highly likely that there will be a

substantial overlap in discovery and briefing in the two cases.” Id.

           On December 29, 2017, the parties in Huellemeier made a joint motion to stay the case,

which I granted on February 12, 2018. In their joint motion to stay, the parties noted that



12
     See Joint Omnibus Reply, Doc. No. 326, at 17 n.8.

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“[t]here is an overlap between the facts and circumstances alleged in the Teva ESPP Litigation

and the Teva Securities Litigation, including the relevance of many of the same documents and

witnesses.” See Joint Mot., Huellemeier, Doc. No. 26, at ¶ 3. On November 1, 2019,

Huellemeier filed an amended complaint. See Am. Compl., Huellemeier, Doc. No. 40. That

complaint is extremely similar to the FAC in this action, 13 and, clearly, copied large portions of

the FAC. The Plaintiffs in this action claim that “Huellemeier’s current pleading is a nearly

verbatim copy of Ontario’s prior Amended Complaint.” Joint Omnibus Reply, Doc. No. 326, at

18.

        There are three differences between the Huellemeier amended complaint and the FAC,

and none counsels against consolidation. The first (apparent) difference regards the putative

classes in the two actions. The FAC in this action asserts claims on behalf of a putative class of

“all persons and entities who, in domestic transactions, purchased or otherwise acquired ADS . . .

and were damaged thereby.” FAC, Doc. No. 226, at ¶ 355. The amended (and original)

complaint in Huellemeier asserts claims on behalf of a putative class of “all individuals who

purchased or otherwise acquired Teva ADSs pursuant to the Company’s ESPP.” Am. Compl.,

Huellemeier, Doc. No. 40, at ¶ 437. Although Huellemeier believes that those who acquired

Teva ADS through the ESPP are excluded from the proposed class in this action, he is incorrect

because—even if employees did not purchase Teva ADS through the ESPP on the open

market—employees “otherwise acquired” Teva ADS through the ESPP. Thus, as Judge Dlott

recognized, and as the parties here note, the putative class asserted in the FAC includes

Huellemeier and the class he seeks to represent. See Joint Omnibus Reply, Doc. No. 326, at 21;

see also Transfer Order, Huellemeier, Doc. No. 17, at 9. The SAC makes it explicitly clear—if


13
 Indeed, Huellemeier admits that his amended complaint “relies heavily” on the FAC. See Am. Compl.,
Huellemeier, Doc. No. 40, at ¶ 2.

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there were any doubt—that those who acquired Teva ADS through the ESPP during the Class

Period are putative class members. See SAC, Doc. No. 311, at ¶ 394.

       The second difference between the Huellemeier amended complaint and the FAC regards

the state common law claims asserted in Huellemeier. The Huellemeier complaint alleges three

state common law claims for breach of fiduciary duty, misrepresentation and non-disclosure, and

breach of contract. See Am. Compl., Huellemeier, Doc. No. 40, at ¶¶ 451–71. The FAC did not

allege any of those claims, but the SAC adds them. See SAC, Doc. No. 310, at ¶¶ 465–85. I

explain below why the Plaintiffs may properly assert those claims in the SAC. In addition, I note

here that the facts necessary to prove the state common law claims asserted in the Huellemeier

complaint will be nearly identical to the facts necessary to prove the federal securities law claims

asserted in the FAC in this action: both kinds of claims are premised on Teva and certain of its

officers and directors’ false and misleading statements regarding the reasons behind Teva’s

financial success during the same period of time. Compare FAC, Doc. No. 226, at ¶ 1 with Am.

Compl., Huellemeier, Doc. No. 40, at ¶ 4 (both explaining that “[t]his action arises from the

difference between what the Defendants told investors was driving Teva’s financial success and

the truth behind Teva’s performance”). Indeed, Huellemeier’s nearly wholesale copying of the

FAC into his amended complaint—the sentence in the compare citation above is an example of

that—shows the extent of the factual overlap between the two kinds of claims.

       The third difference between the Huellemeier amended complaint and the FAC regards

the nature of the Section 11 claim in each case. Plaintiffs’ Section 11 claim in this action

concerns misstatements made in connection with the ADS/Preferred Registration Statement filed

with the SEC on November 30, 2015. See SAC, Doc. No. 310, at 6 (glossary), ¶ 439.

Huellemeier’s Section 11 claim concerns misstatements made in connection with the 2010



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Registration Statement, filed with the SEC on July 27, 2010. See Compl., Huellemeier, Doc. No.

1, at ¶ 38. The 2010 Registration Statement incorporates by reference “all documents filed by

the Registrant with the [SEC] pursuant to Sections 13(a), 13(c), 14 and 15(d) of the [Exchange

Act] . . . subsequent to the date of this Registration Statement.” See id. Those later-filed

documents, including a 2014 Form 20-F, and three 2015 Forms 6-K, also are incorporated by

reference into the ADS/Preferred Registration Statement and form the basis for the Plaintiffs’

Section 11 claim in this action. See SAC, Doc. No. 310, at ¶ 428; Joint Omnibus Reply, Doc.

No. 326, at 21 & n.12. Thus, “every alleged misstatement underlying Ontario Teachers’ claim

also supports ESPP purchasers’ Section 11 claim.” Joint Omnibus Reply, Doc. No. 326, at 21.

             3. St. Petersburg

         St. Petersburg was filed in the Eastern District of Pennsylvania on June 21, 2019. The

plaintiff alleges—on behalf of all persons or entities who acquired Teva ADS between August 4,

2017 and May 10, 2019—that Teva, Kåre Schultz, and Michael McClellan violated Sections

10(b) and 20(a) of the Exchange Act and Rule 10b-5 through their “consistent denials during the

Class period of having engaged in any anticompetitive practices.” Compl., St. Petersburg, Doc.

No. 1, at ¶¶ 1–2. On August 23, 2019, four groups of movants made motions to be appointed

lead plaintiff in St. Petersburg. Two groups of those movants withdrew their motions and

supported HMG’s motion. See Response, St. Petersburg, Doc. No. 20; Notice, St. Petersburg,

Doc. No. 22. Thus, only two movants remained: HMG and the Employees’ Retirement System

of the City of St. Petersburg, Florida (“SPERS”). On October 8, 2019, Judge Diamond granted

the defendants’ motion to transfer 14 St. Petersburg to the District of Connecticut, and he did not


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          During the briefing period regarding St. Petersburg’s transfer, HMG and Ontario Teachers’ took positions
that are in significant tension with the positions they take now. For instance, Ontario Teachers’ filed an unsolicited
submission opposing transfer because the cases were “not sufficiently related to warrant transfer.” See Response, St.
Petersburg, Doc. No. 33, at 1. Ontario Teachers’ continued to explain that St. Petersburg “involves entirely

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rule on the pending motions for appointment as lead plaintiff. See Order, St. Petersburg, Doc.

No. 37.

          The similarities between the FAC in this action and the complaint in St. Petersburg were

many. In granting the defendants’ motion to transfer St. Petersburg to this court, Judge Diamond

noted that “the factual background and subject matter” of the two cases are “substantially

similar” because “the subject matter of both actions is premised on Teva’s alleged involvement

in an industry-wide price-fixing scheme.” Order, St. Petersburg, Doc. No. 37, at 9–10. The St.

Petersburg complaint alleges violations of Sections 10(b) and 20(a) of the Exchange Act and

Rule 10b-5. In this action, the Plaintiffs bring claims for violations of the same provisions (in

addition to other claims). The putative class in St. Petersburg includes “all persons who

purchased or otherwise acquired Teva ADS” between August 4, 2017 and May 10, 2019. See

Compl., St. Petersburg, Doc. No. 1, at ¶ 59. The proposed class in the FAC in this action

covered all who “purchased or otherwise acquired” the same security—Teva ADS—between

February 6, 2014 and August 2, 2017. See FAC, Doc. No. 226, at ¶ 355. Thus, the two actions

seek to represent a class of holders of the same security. Perhaps because of those clear




different alleged false statements and a different theory of falsity” than Ontario Teachers’, and so “while discovery
and proof in [Ontario Teachers’] will focus on the subject matter of the misstatements at issue there, the instant
action will instead focus on the separate and distinct question of whether Teva committed securities fraud by
affirmatively denying its own antitrust liability in the context of certain lawsuits and proceedings.” Id. at 1–2.
Ontario Teachers’ did note that it “expressly reserves all rights and arguments with regard to Defendants’ and
HMG’s arguments about the potential effect of transfer on [Ontario Teachers’] and the claims asserted here.” Id. at
3 n.1. Ontario Teachers’ explains that its prior opposition was “based on concerns that amending its then-operative
pleading without Defendants’ consent would prompt further motion practice and a renewed discovery stay,” but that
that concern is no longer present because of the SAC. See Ontario Teachers’ Opp’n to Mot. to Intervene, Doc. No.
324, at 8.
          Similarly, HMG supported transferring St. Petersburg to this district because, among other reasons,
Ontario Teachers’ was a “substantially similar consolidated securities litigation” with “substantially similar claims.”
Mot. to Transfer, St. Petersburg, Doc. No. 14-1, at 3, 13.
          Throughout their briefing, the HMG and Ontario Teachers’ both point repeatedly to each others’ statements
in those prior submissions to suggest that their positions now are disingenuous or weak. But I accord those prior
submissions very little weight because they were made in a different posture and at a very different stage of
litigation.

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similarities, SPERS—one of the two movants for lead plaintiff in St. Petersburg—does not

oppose consolidation so long as the Plaintiffs here assert the class claims advanced in St.

Petersburg. See Notice, St. Petersburg, Doc. No. 70, at 2–3. And, in the SAC, the Plaintiffs

have done exactly that.

         To be sure, the St. Petersburg complaint is not identical to the FAC in this action. First,

the theory of liability in St. Petersburg concerns the Defendants’ misstatements regarding Teva’s

anticompetitive activity. 15 That is, the claims in St. Petersburg “arise[] from Teva’s consistent

denials during the Class Period of having engaged in any anticompetitive practices.” Compl., St.

Petersburg, Doc. No. 1, at ¶ 2. To that end, the St. Petersburg complaint identifies public

filings—Forms 6-K, 10-K, and 10-Q—and a few company-issued statements during the Class

Period in which Teva denied any involvement in anticompetitive conduct. See Compl., St.

Petersburg, Doc. No. 1, at ¶¶ 30–37. In contrast, although the FAC in this action alleges that

Teva engaged “in a series of anticompetitive conspiracies” to raise the prices of generic drugs,

that is not the sole focus of the FAC. See FAC, Doc. No. 226, at ¶¶ 285–309.

         However, the conduct alleged in the St. Petersburg complaint is a clear continuation of

the conduct alleged in the FAC in this action. The success of the St. Petersburg complaint will

depend on many of the same facts that the Plaintiffs in this action must prove to sustain their

claims as asserted in the FAC. For instance, the theory in St. Petersburg relies heavily on the

May 2019 complaint against Teva released by 44 State Attorneys General (the “May 2019 State

AGs’ Complaint”). See Compl., St. Petersburg, Doc. No. 1, at ¶¶ 9–11 (noting that “[t]he full




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   Although the focus of the St. Petersburg complaint is on Teva’s denials of anticompetitive behavior, that is
merely the theory of liability: it is a securities case, not an antitrust case. As a case in point, St. Petersburg was
initially classified as “related” to the anti-trust MDL in the Eastern District of Pennsylvania; but District Judge
Cynthia Rufe, presiding over that MDL, filed an order removing the “related” designation from St. Petersburg
because it alleges violation of securities laws, not antitrust laws. See Order, St. Petersburg, Doc. No. 2.

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extent of Teva’s years-long lies and extensive involvement in the price-fixing conspiracy was not

fully revealed” until the May 2019 State AGs’ Complaint). But the May 2019 State AGs’

Complaint was a continuation of investigations into Teva and other generic drug companies that

had begun years earlier and on which the FAC in this action relied. For instance, the FAC noted

that the United States Department of Justice had criminally charged officers of one of Teva’s

competitors in December 2016 for “manipulating the market” for a particular generic drug for

which “Teva controlled over 75% of the market” during the class period. See FAC, Doc. No.

226, at ¶ 142. The FAC similarly relied on a December 2016 federal lawsuit against Teva USA

by 20 State AGs alleging antitrust violations with respect to that same generic drug. See id. at ¶

143. The FAC also contained a section titled, in part, “Teva Engaged In Collusion,” that

discussed a consolidated class action complaint filed in June 2018 by over 40 State AGs (the

clear predecessor to the May 2019 State AGs’ Complaint). See id. at ¶¶ 285–300. The FAC

even anticipated further antitrust investigations and noted: “State AGs are now investigating

conspiracies regarding upwards of 200 drugs, and will file additional complaints in the future.”

See id. at ¶ 144. Thus, even though the May 2019 State AGs’ Complaint is different in scope

from the investigations and complaints that preceded it, its thrust is the same: Teva was colluding

with its competitors in an anticompetitive manner.

       Additionally, although the FAC could not, of course, have alleged false statements that

would be made in the future, it did allege false statements from the then-Teva CEO and CFO that

share the same substance as the later false statements on which the plaintiffs in St. Petersburg

rely. For instance, the FAC quotes then-CFO Desheh as saying in November 2015 that Teva was

“playing a competitive game” with respect to pricing. See id. at ¶ 201. The FAC also quoted

then-CEO Vigodman as saying in November 2016 that he “was not aware of any fact that would



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give rise to an exposure to Teva with respect to” the State AGs’ and DOJ investigations into

Teva at that time. See id. at ¶ 281.

       The further differences between St. Petersburg and this action also do not counsel against

consolidation. First, although two of the three defendants in St. Petersburg were not named in

the FAC, those two defendants are Teva’s current CEO (Kåre Schultz), who has been in the job

since September 2017, and its CFO between November 2017 and 2019 (Michael McLellan).

Both of their predecessors (Erez Vigodman and Eyal Desheh, respectively) were named in the

FAC in this action. In addition, the St. Petersburg complaint alleges involvement of Schultz and

McClellan only insofar as they signed the Forms 10-Q and 10-K filed with the SEC throughout

the class period. See Compl., St. Petersburg, Doc. No. 1, at ¶ 32. Second, the class periods

alleged in the FAC and in the St. Petersburg complaint do not overlap; they are consecutive.

However, the above discussion highlights how many facts are common to both actions; the proof

in each action will be substantially the same. That is because the Defendants’ misrepresentations

regarding Teva’s financial results and denials of anticompetitive behavior before and after

August 3, 2017 were part of the same course of conduct. Losses on Teva ADS from 2017 to

2019 implicate the same set of concerns as the losses on Teva ADS from 2014 to 2017.

       Finally, in this discussion I have noted the similarities between the FAC in this action and

the complaint in St. Petersburg. Those similarities are important because they show the overlap

in the two actions even before the SAC was filed in this action. However, the SAC, which I hold

is the operative complaint in this action (discussion below), eliminates the differences that

existed between the claims in this action and in St. Petersburg. See SAC, Doc. No. 310, at ¶¶

31–32 (adding Schultz and McClellan as defendants), 250–55 (Forms 6-K, 10-K, and 10-Q




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between August 3, 2017 and February 19, 2019), 372–76 (December 2018 Washington Post

article and May 2019 State AGs’ Complaint).

           4. The SAC

       As the above discussion indicates, consolidation of the Putative Class Actions would

likely have been warranted even had the Plaintiffs in this action not filed the SAC. However, on

December 13, 2019, the Plaintiffs in this action filed the SAC with the consent of the

Defendants. The SAC is different in several respects from the FAC. First, the SAC extends the

class period’s end point by nearly two years, from August 3, 2017 to May 10, 2019. See SAC,

Doc. No. 310, at ¶ 1. Second, although the SAC still alleges all the same federal securities

claims as the FAC, it also alleges additional claims and theories that were alleged in the other

three Putative Class Actions. In particular, the SAC incorporates the allegations underlying the

anticompetitive theory in St. Petersburg, adds the relevant defendants from St. Petersburg,

absorbs the three state common law claims alleged in Huellemeier, and integrates the Section 11

claim based on the Registration Statement alleged in Huellemeier. See SAC, Doc. No. 310, at ¶¶

31–32, 41, 250–55, 372–76, 465–85. In all, the FAC was 424 paragraphs, and the SAC is 487

paragraphs.

       In addition, the parties report that, as part of the Defendants’ consent to the SAC, the

               Defendants have agreed that they will not advance at any stage of the case
               the arguments that Lead Plaintiff or Named Plaintiff . . . do not have
               standing to advance the claims that are the subject of the amendments, or
               that Plaintiffs are not adequate or typical representatives for purposes of
               representing the class, and Defendants shall not use the fact of the
               amendment itself to challenge class certification . . . . Subject to the
               exceptions set forth in this paragraph, Defendants do not waive and
               expressly reserve all arguments and defenses, and Defendants may advance
               any argument or defense at a later stage of the case, including in support of
               any motion for summary judgment. Defendants shall not move under Fed.
               R. Civ. P. 12 with respect to the amended complaint.



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Doc. No. 311, at 15–16; see also Proposed Order, Doc. No. 311-1, at ¶¶ 7–10. The Defendants

explain that their interest in “avoiding the expense and burden associated with litigating multiple

class actions lawsuits asserting essentially the same claims” informed their decision to consent to

the SAC in this case. See Defs.’ Mem. in Opp’n to Mot. to Intervene, Doc. No. 325, at 9. I hold

that the SAC is a proper pleading and is the operative complaint in this action.

               a. The SAC does not require republication under the PSLRA.

       Under the PSLRA, a plaintiff who files a putative class action complaint “shall cause to

be published, in a widely circulated national business-oriented publication or wire service, a

notice advising members of the purported plaintiff class” about the case, thus enabling “any

member of the purported class . . . to move the court to serve as lead plaintiff of the purported

class.” 15 U.S.C. § 78u-4(a)(3)(A). When a complaint is amended, courts must determine

whether republication of such a notice—and relitigation of an appropriate lead plaintiff—is

warranted under the PSLRA. “Courts typically disfavor republication when a complaint is

amended unless the amended complaint substantially alters the claims or class members.”

Rauch, 378 F. Supp. 3d at 207 (citing Waldman v. Wachovia Corp., 2009 WL 2950362, at *1

(S.D.N.Y. Sept. 14, 2009) (internal quotation marks omitted)); see also Dube v. Signet Jewelers

Limited, 2017 WL 1379385, at *1 (S.D.N.Y. Apr. 14, 2017). “In cases encompassing the same

claims and securities, but somewhat different class periods, courts have generally found that the

efficiency cost of republication outweighs the marginal fairness gains of notifying class

members” because “most potential lead plaintiffs are probably eligible under either class period.”

Id. (citing Teamsters Local 445 Freight Div. Pension Fund v. Bombardier, Inc., 2005 WL

1322721, at *2 (E.D.N.Y. June 1, 2005)). In sum, when “the legal claims are the same and the




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factual allegations are substantially similar between the original and amended Complaints,” no

republication is necessary under the PSLRA. Id.

         The purpose of the PSLRA is a related and relevant concern: the PSLRA’s purpose was

“to prevent lawyer-driven litigation, and to ensure that parties with significant holdings in

issuers, whose interests are more strongly aligned with the class of shareholders, will participate

in the litigation and exercise control over the selection and actions of plaintiffs’ counsel.” In re

Flight Safety Technologies, Inc. Securities Litig., 231 F.R.D. 124, 129 (D. Conn. 2005) (citing

Weltz v. Lee, 199 F.R.D. 129, 131 (S.D.N.Y. 2001) (internal quotation marks omitted)). The role

of a lead plaintiff “is to empower investors so that they—not their lawyers—exercise primary

control over private securities litigation.” Hevesi v. Citigroup Inc., 366 F.3d 70, 82 n.13 (2d Cir.

2004).

         HMG apparently 16 challenges the SAC as an improper pleading under the PSLRA

because the SAC “substantially alters the claims and class members” alleged in the FAC by

extending the class period by nearly two years, alleging different false statements and corrective

disclosures, and by naming new individual defendants. See Mem. in Supp. of Mot. to Intervene,

Doc. No. 313, at 11–16. I have catalogued those differences in detail above in discussing why

the St. Petersburg action will be consolidated into this action. Put simply, the conduct alleged in

the St. Petersburg complaint is a clear continuation of the conduct alleged in the FAC, and the

success of the St. Petersburg complaint would depend on many of the facts that the Plaintiffs in

this action must prove to sustain their claims as asserted in the FAC.




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  HMG seemingly argues that the SAC is improper without republication of notice under the PSLRA, but then
explains that “an order for republication of a PSLRA early notice is unnecessary,” and, instead, “the more prudent
action would be for the Court to strike the new claims and allegations in the SAC.” Mem. in Supp. of Mot. to
Intervene, Doc. No. 313, at 18–19.

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        Two cases that HMG cites in its favor actually indicate that republication of notice under

the PSLRA is not warranted here. The first is In re Leapfrog Enter., Inc. Sec. Litig. In Leapfrog,

the court held that republication was warranted when a lead plaintiff in a consolidated class

action amended its complaint to “vastly expand[] their original complaint.” Leapfrog, 2005 WL

5327775, at *3 (N.D. Cal. July 5, 2005). Indeed, the Leapfrog lead plaintiff’s original complaint

was 21 pages and focused on the defendants’ statements about LeapFrog’s general financial

outlook. See id. The lead plaintiff’s amended complaint was 135 pages, included far more

detailed allegations about, for instance, the defendant’s “distribution and supply chain,” and

expanded the class period by a factor of two-and-a-half. Id.

        The second is Signet Jewelers. In Signet Jewelers, the court granted a party’s motion to

intervene for the purpose of seeking an order requiring the lead plaintiff to republish notice

pursuant to the PSLRA. See Signet Jewelers, 2017 WL 1379385, at *1. The court held that

republication was necessary for two reasons. The first regarded the class period expansion: the

original class period ran about six months, but the amended complaint’s class period ran three-

and-a-half years (a six-fold increase). See id. The second—“more significant[]”—reason was

that the amended complaint “dramatically” altered the gravamen of the claims alleged against the

defendants. In the original complaint, the allegations all regarded the poor performance of

simple, core business activities that made the defendants’ “positive statements about [their]

business, operations, and prospects . . . false and misleading”; in the amended complaint, the lead

plaintiffs alleged two “categorically different theories of securities fraud”: (a) that the

defendants’ failed to disclose “blatant sexual harassment of female employees,” which was “a

pervasive feature of its corporate culture,” and (b) that the defendants “omitted material facts

about the quality of its credit portfolio.” Id. at *2.



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       This case is unlike Leapfrog and Signet Jewelers because the differences between the

prior and amended complaints in those two actions were much more substantial than the

differences between the FAC and the SAC here. In this action, the class period expanded from

the FAC to the SAC by, about, a factor of one-and-a-half. That expansion is substantially less

than the expansions in both Leapfrog and Signet Jewelers. In addition, the Signet Jewelers court

itself explained that the PSLRA republication inquiry is “more qualitative” than quantitative;

thus, a class period multiplication exercise is a less important consideration than a qualitative

comparison of the two complaints.

       That qualitative comparison leaves little doubt that the SAC is not a “substantially

altered” version of the FAC. The court in Leapfrog noted that the lead plaintiff’s original

complaint was 21 pages and its amended complaint was 135 pages. In contrast, the FAC in this

action was 424 paragraphs, and the SAC is 487 paragraphs. The court in both Leapfrog and

Signet Jewelers noted the substantial differences in the factual underpinnings between the claims

and theories advanced in the prior and amended complaints in those actions. In this action,

though, the factual underpinnings of the FAC and SAC are substantially the same. To

encompass Huellemeier, the SAC added paragraphs alleging state common law claims and

referring to the 2010 Registration Statement. As explained above, those additions are not

“substantial alterations” because the state common law claims in Huellemeier and the federal

securities claims in this action depend on the same facts, and the 2010 Registration Statement

incorporates by reference public filings already mentioned in the FAC. To encompass St.

Petersburg, the SAC added paragraphs regarding public filings from the St. Petersburg class

period, further denials of anticompetitive conduct, and adds two new defendants. Those

additions do not “substantially alter” the FAC because the Defendants’ anticompetitive conduct



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and their previous, related denials were already part of the theory of liability in the FAC.

Indeed, the FAC explicitly anticipated further developments with respect to the State AGs’

investigation into Teva’s anticompetitive conduct. For those reasons, I hold that the SAC does

not “substantially alter” the FAC and so republication of notice under the PSLRA is not

warranted.

               b. The Plaintiffs have class standing to assert all the claims in the SAC.

       In the Second Circuit, a lead plaintiff in a putative class action has “class standing” to

assert claims on behalf of other putative class members

               if he plausibly alleges (1) that he “personally has suffered some actual . . .
               injury as a result of the putatively illegal conduct of the defendant,” and (2)
               that such conduct implicates “the same set of concerns” as the conduct
               alleged to have caused injury to other members of the putative class by the
               same defendants.

NECA-IBEW Health & Welfare Fund v. Goldman Sachs & Co., 693 F.3d 145, 162 (2d Cir.

2012). There is no dispute that the Plaintiffs have plausibly alleged that they have suffered an

actual injury as a result of the putatively illegal conduct of the Defendants. See Order, Doc. No.

283, at 69. Whether a defendant’s illegal conduct implicates the “the same set of concerns” as

the conduct alleged to have caused injury to other members of the putative class depends on

whether the Plaintiffs have “a sufficiently personal and concrete stake in proving [those] other,

related claims.” Retirement Bd. of the Policemen’s Annuity and Ben. Fund of the City of

Chicago v. Bank of New York Mellon, 775 F.3d 154, 163 (2014). The Plaintiffs have such an

interest if “the proof contemplated for all of the claims [will] be sufficiently similar.” Id. at 161.

       In NECA, the plaintiff sued under the Securities Act on behalf of a putative class

consisting of all persons who acquired certain mortgage-backed certificates underwritten by the

defendants there. 693 F.3d at 149. The certificates were sold in seventeen separate offerings



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which were all based on common shelf registration statements but which also all had unique

offering documents. Id. at 162–63. The court held that the plaintiff—which had bought

certificates from only two of the offerings—could assert claims on behalf of certificate-holders

from other offerings that “were backed by loans originated by originators common to those

backing the” two offerings in which the plaintiff itself had purchased certificates. Id. at 164–65.

In contrast, in Policemen’s Annuity, the named plaintiff sought to assert absent class members’

breach of duty claims against the trustee of a trust in which the named plaintiff did not invest; the

court held that the named plaintiff did not have class standing because “[i]n contrast to NECA,

where the defendants’ alleged Securities Act violations inhered in making the same

misstatements across multiple offerings, [the defendant’s] alleged misconduct must be proved

loan-by-loan and trust-by-trust.” 775 F.3d at 162.

       This case is more like NECA than like Policemen’s Annuity because the facts required to

prove the Plaintiffs’ “own” claims will be substantially similar to—not “very different” from—

the facts required to prove the “other, related claims” against the Defendants. See id. at 163.

That is plainly true in Grodko, which asserts the same federal securities claims against a subset

of the same defendants during a subset of the same class period as in this action. Even though

Grodko assert a claim based on Israeli law, Grodko himself noted that that claim was premised

on violations of Sections 10(b) and 20(a) of the Exchange Act and Rule 10b-5. See Compl.,

Grodko, Doc. No. 1, at ¶ 62–63.

       The same is true in Huellemeier. As explained above, the first difference that

Huellemeier identifies between Huellemeier and this action is illusory: those who acquired Teva

ADS through the ESPP have always been a part of the putative class in this action. See Joint

Omnibus Reply, Doc. No. 326, at 21; see also Transfer Order, Huellemeier, Doc. No. 17, at 9



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(“It would appear that Huellemeier himself falls within the class defined in the Ontario

Teachers[’] action as a person who purchased or acquired Teva shares between February 6, 2014

and August 3, 2017.”).

       The second difference that Huellemeier identifies—that the Huellemeier complaint

asserts state common law claims, see SAC, Doc. No. 310, at ¶¶ 465–85, and a Section 11 claim

in connection with the 2010 Registration Statement based on Teva ADS acquired through the

ESPP, see id. at ¶ 441—also does not defeat the Plaintiffs’ class standing in this action because

the claims implicate the same set of concerns. As explained above, the 2010 Registration

Statement and the ADS/Preferred Registration Statement incorporated by reference the same

crucial filings: a 2014 Form 20-F, and three 2015 Forms 6-K. Thus, the misstatements

underlying Ontario Teachers’ Section 11 claim also support the Section 11 claim in Huellemeier.

       Regarding the Huellemeier complaint’s state common law claims, it is undeniable that

essentially the same facts undergird those claims and the federal securities law claims in this

action. Indeed, Huellemeier amended his complaint to conform to the FAC in this action.

Although Huellemeier’s state common law claims regard the Defendants’ duties with respect to

those putative class members who acquired Teva ADS through the ESPP, the claims “implicate

the same set of concerns” as the federal securities law claims in this action because both types of

claims rely on many of the same alleged misrepresentations. See, e.g., Huellemeier’s Opp’n,

Huellemeier, Doc. No. 47, at 29 (explaining that to prove breach of fiduciary duty, Huellemeier

will show that the Defendants made “misleading statements of material fact in the [2010]

Registration Statement and in SEC filings subsequently incorporated into the Registration

Statement”). For the above reasons, the facts required to prove Huellemeier’s Section 11 and




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state common law claims will be substantially similar to the proof required to prove the

Plaintiffs’ federal securities law claims.

        In addition, the Plaintiffs have class standing to pursue the Exchange Act claims asserted

in St. Petersburg on behalf of those who acquired Teva ADS between August 4, 2017 and May

10, 2019. Ontario Teachers’ last purchased Teva ADS on September 29, 2016, and, since then,

has sold some if its ADS. See App. D to SAC, Doc. No. 310. However, the Plaintiffs have class

standing to assert claims regarding the losses alleged on Teva ADS purchased or otherwise

acquired between August 4, 2017 and May 10, 2019 because those losses resulted from the

Defendants’ sustained course of conduct originating at the beginning of the class period. See In

re Vivendi Universal, S.A., 242 F.R.D. 76, 87 (S.D.N.Y. 2007) (“With respect to class

representative standing, it is well established that where, as here, plaintiffs allege that their losses

were the result of a sustained course of conduct that propped up defendant’s stock price

throughout the class period, the class may be represented by an individual who purchased his

shares prior to the close of the class period.”) (citing Robbins v. Moore Med. Corp., 788 F. Supp.

179, 187 (S.D.N.Y. 1992)). As described above, the Defendants’ misrepresentations regarding

Teva’s financial results and its denials of anti-competitive behavior between August 4, 2017 and

May 10, 2019 were part of the same course of conduct described in the FAC. Thus, the

Defendants’ conduct that caused losses on Teva ADS from August 4, 2017 to May 10, 2019

implicates the “same set of concerns” as their conduct that caused losses on Teva ADS from

February 6, 2014 through August 3, 2017.

        Finally, there is every indication that the Plaintiffs will adequately pursue all the claims

in the SAC. In In re Central European Distribution Corp. Securities Litig. (“CEDC”), the court

de-consolidated two actions when the lead plaintiffs in the first action “indicated that they



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[would] not prosecute” claims arising from the second action because keeping the cases

consolidated would “prejudice” the claimants in the second action “by subjecting them to a lead

plaintiff that would neglect their claims.” 2012 WL 5465799, at *9 (D.N.J. Nov. 8, 2012). In

CEDC, the claims raised by lead plaintiffs in the first action and the claimants in the second

action were extremely different: the first action regarded “CEDC’s management of its vodka

portfolio,” and the second action regarded “the accounting actions of a CEDC subsidiary in

Russia.” Id.

        This case is different. The Plaintiffs in this action have indicated that they will prosecute

all claims in the SAC. 17 Indeed, the Plaintiffs report that even before filing the SAC, they had

“already vigorously pursued claims for the post-August 3, 2017 period, including by serving

extensive discovery requests concerning that period.” See Joint Omnibus Reply, Doc. No. 326,

at 22; Ontario Teachers’ Opp’n to HMG’s Mot. to Intervene, Doc. No. 324, at 16 (“[O]n October

3, 2019, days after the Court ruled on Defendants’ motions to dismiss, Ontario Teachers’

propounded requests for documents concerning the entire period following August 17, including

seeking discovery concerning the February 2018 writedown; the December 2018 article in The

Washington Post; the State AGs’ May 2019 amended complaint; and Teva’s various denials of

collusion.”).

             5. Consolidation rather than coordination

        HMG and Huellemeier seek to coordinate—rather than consolidate—St. Petersburg and

Huellemeier with this action. In the alternative, each seeks to be appointed lead plaintiff for a

sub-class of Teva ADS purchasers. I find that consolidation is much the better option.




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   As noted above in n.14, I accord hardly any weight to Ontario Teachers’ statements in their motion opposing
transfer of the St. Petersburg action. See Response, St. Petersburg, Doc. No. 33, at 1.

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        Were I to coordinate St. Petersburg and Huellemeier with this action, St. Petersburg and

Huellemeier would be far behind this action in the litigation timeline. In neither case has a lead

plaintiff been properly appointed. After I appointed a lead plaintiff, the defendants in both

actions would certainly file motions to dismiss. Those motions to dismiss would trigger a

mandatory discovery stay under the PSLRA. See 15 U.S.C. § 78u-4(b)(3)(B) (“[A]ll discovery

and other proceedings shall be stayed during the pendency of any motion to dismiss . . . .”).

Meanwhile, pursuant to my Case Management Order, this action is currently on schedule to

conclude fact discovery by February 26, 2021. See Order, Doc. No. 298, at 2.

        Allowing St. Petersburg and Huellemeier to proceed on that delayed timeline would be

extremely inefficient precisely because those actions are so similar to this action. See In re

Facebook, Inc., 2013 WL 4399215, at *1 (holding that, despite some difference between putative

class actions, “there was no reason to allow two separate class action[s] to proceed under

different leadership structures” and that “[t]o reject consolidation would unnecessarily create two

distinct and parallel securities litigation cases with different plaintiffs and different leadership”).

If these actions were coordinated, rather than consolidated, Plaintiffs in this action would be

litigating on behalf of those who acquired Teva ADS from February 6, 2014 through August 3,

2017; lead plaintiffs in St. Petersburg would be litigating on behalf of those who acquired the

same securities between August 4, 2017 and May 10, 2019; and lead plaintiffs in Huellemeier

would be litigating on behalf of those who acquired the same securities—only through the

ESPP—during the class period in this action. That fracturing would be highly inefficient.

        It might also be prejudicial to the putative class members in St. Petersburg and

Huellemeier. In parallel class actions, “[a] judgment in either class action would preclude further

litigation of the other,” and the plaintiffs in each parallel action would thus “necessarily be in



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destabilizing competition to race to an early resolution.” Id. at *5 (citing Waldman v. Vill. of

Kiryas Joel, 207 F.3d 105, 110 (2d Cir. 2000)). Thus, coordinating St. Petersburg and

Huellemeier with this action would be inefficient and potentially prejudicial to potential class

members in those actions. It would also negate the purpose of the PSLRA: to “empower one or

several investors with a major stake in the litigation to exercise control over the litigation as a

whole.” Hevesi, 366 F.3d at 82, n.13.

       I also decline to create a sub-class in this action. I have explained above why the

Plaintiffs in this action have class standing to pursue all the claims asserted in the SAC and why

there is no reason to doubt that they will do so zealously. It is not necessary that “a different lead

plaintiff be appointed to bring every single available claim, as such a requirement would

contravene the main purpose of having a lead plaintiff.” Police and Fire Retirement Sys. of City

of Detroit v. IndyMac MBS, Inc., 721 F.3d 95, 112 (2d Cir. 2013) (quoting Hevesi, 366 F.3d at

82 n.13) (internal quotation marks omitted). However, “there must be a named plaintiff

sufficient to establish jurisdiction over each claim advanced.” See id.

       C. Consolidation of the Direct Actions for all pre-trial purposes is appropriate.

       The parties in this action urge that the Direct Actions should be consolidated with this

action for many of the same reasons that the Putative Class Actions should be consolidated. The

parties point to the “common questions of fact and law” in the Direct Actions and this action: all

allege claims under the Exchange Act; all assert those claims against four of the defendants in

this action; all arise out of alleged misstatements concerning Teva’s “pricing” and “competition”;

and all involve claims during the class period alleged in the SAC. See Joint Mot. to Consolidate

Cases, Doc. No. 311, at 17. During the pendency of the motions to dismiss in this action, the

parties in all the Direct Actions made submissions in which they noted the substantial overlap



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between this action and that particular Direct Action. See id. at n.10 (collecting cites in all Direct

Actions except OZ ELS); see also Joint Mot. for Ext. of Time, OZ ELS, Doc. No. 18, at ¶ 1

(referring to this action as “the related class action”).

        Further, courts frequently consolidate class actions and related direct actions for pre-trial

purposes. See, e.g., In re Worldcom, Inc. Securities Litig., 2003 WL 21219037 (S.D.N.Y. May

22, 2003); Crowe v. JPMorgan Chase & Co., 2009 WL 3852381 (S.D.N.Y. Nov. 18, 2009); In

re Enron Corp. Securities Litig., 206 F.R.D. 427 (S.D. Tex. 2002). The Worldcom court

explained that an important consideration in consolidating those actions for pre-trial purposes

was “the preservation of assets for distribution to plaintiffs” should a recovery occur. In re

Worldcom, 2003 WL 21219037, at *3. In particular, the Worldcom court noted that inflated

attorneys’ fees might reduce recovery unnecessarily and that, even if they did not, defendants

who had spent heavily on their defense would be inflexible in settlement discussions. See id.

Another important consideration was making sure that parties in the Direct Actions had “a full

and fair opportunity for discovery,” so that the Direct Actions are trial-ready when an individual

plaintiff opts out of any class that is certified. See id. Finally, the Direct Action parties must

“hav[e] access to any information learned during the course of discovery” and “have an

opportunity to ensure that the discovery conducted is sufficient to meet the needs of their action”

so that the Direct Actions can be in “a position to participate effectively in settlement

discussions.” Id. In this case, consolidating the Related Actions would achieve all three goals

because it would appropriately conserve the Defendants’ resources and allow the Direct Actions

to proceed to discovery now, without motions to dismiss being filed in those cases (which would,

again, trigger mandatory discovery stays under the PSLRA).




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        Still, the Direct Action plaintiffs (except in OZ ELS) request that the Direct Actions be

coordinated—rather than consolidated—with this action. The Direct Action plaintiffs’ main

argument is that numerous Direct Actions assert claims under Israeli law or state law. See Joint

Opp’n to Mot. to Consolidate, Nordea, 18 Doc. No. 34, at 7–8 n.1 (citing eight Direct Actions

with state law claims and nine Direct Actions with Israeli law claims). The Direct Action

plaintiffs claim in particular that consolidating the Direct Actions with this action would be

tantamount to dismissing their state law claims because it would subject those claims to

preclusion under the Securities Litigation Uniform Standards Act (“SLUSA”). SLUSA directs

that “[n]o covered class action based upon the statutory or common law of any State . . . may be

maintained in any State or Federal court by any private party alleging (A) a misrepresentation or

omission of a material fact in connection with the purchase or sale of a covered security; or (B)

that the defendant used or employed any manipulative or deceptive device or contrivance in in

connection with the purchase or sale of a covered security.” 15 U.S.C. § 78bb(f)(1). SLUSA

defines a “covered class action,” in part, as “any group of lawsuits filed in or pending in the same

court and involving common questions of law or fact, in which . . . the lawsuits are joined,

consolidated, or otherwise proceed as a single action for any purpose.” 15 U.S.C. §

78bb(f)(5)(B)(ii). The Direct Action plaintiffs argue that if the Direct Actions are “consolidated”

with this action, they will become “covered class actions” within the meaning of SLUSA, and so

the Direct Actions’ state law claims would be subject to dismissal.

        As the parties in this action point out, though, coordination would have the same effect as

consolidation on the Direct Actions’ state law claims because the Related Actions, even if simply

coordinated, would be “otherwise proceed[ing] as a single action.” See, e.g., Amorosa v. Ernst &


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 I cite to the Nordea docket, but the same joint opposition could be found on the docket of any of the Direct
Actions (except OZ ELS).

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Young LLP, 672 F. Supp. 2d 493, 514–18 (S.D.N.Y. 2009); Kuwait Inv. Office v. American

Intern. Grp., Inc., 128 F. Supp. 3d 792, 813 (S.D.N.Y. 2015) (“SLUSA sweeps broadly and

applies to individual cases that are ‘coordinated or consolidated’ for pre-trial purposes with a

class action”); In re American Realty Capital Properties, Inc., Litig., 2019 WL 2082508, at *4

(S.D.N.Y. May 10, 2019). Further, as described above, the claims and issues in the Direct

Actions are substantially the same as the claims and issues in this action. Courts commonly

consolidate direct actions asserting state law claims with putative class actions in situations

similar to this. See, e.g., In re Worldcom, 2003 WL 21219037, at *4. Nor do the Israeli law

claims included in some of the Direct Actions counsel against consolidation. Again, as discussed

above with respect to Huellemeier, the facts and law undergirding the Israeli law claims in the

Direct Actions are substantially the same (if not exactly the same) as those undergirding the

federal securities law claims in this action. Thus, the Direct Actions and the Putative Class

Actions should be consolidated for pre-trial purposes.

       D. HMG’s Motion to Intervene

       On December 20, 2019, HMG made a motion to intervene in this action “to obtain an

order striking” the SAC. See Mot. to Intervene, Doc. No. 312. HMG’s arguments in this posture

largely mirror its arguments in its opposition to the parties’ joint motion to consolidate the

Related Actions. In particular, HMG claims that the SAC was an improper pleading under the

PSLRA because it “substantially alters the claims and class members” in this action, and there

was no republication of notice issued to class members as required by the PSLRA. See 15

U.S.C. § 78u-4(a)(3)(A); Mem. in Supp. of Mot. to Intervene, Doc. No. 313, at 6. Further, HMG

suggests that the Defendants’ consenting to the SAC and agreeing to waive further Rule 12




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motions and challenges to the Plaintiffs’ adequacy and typicality indicate “collusion” between

the parties in this action. See id. at 7–8.

        On timely motion, a court must permit a party to intervene as of right when that party:

                (1) is given an unconditional right to intervene by a federal statute; or (2)
                claims an interest relating to the property or transaction that is the subject
                of the action, and is so situated that disposing of the action may as a practical
                matter impair or impede the movant’s ability to protect its interest, unless
                existing parties adequately represent that interest.

Fed. R. Civ. P. 24(a). On timely motion, a court may permit a party to intervene who “(A) is

given a conditional right to intervene by a federal statute; or (B) has a claim or defense that

shares with the main action a common question of law or fact.” Fed. R. Civ. P. 24(b). However,

courts equate mandatory and permissive intervention and require that “[t]o be granted

intervention as of right or by permission, an applicant must” satisfy the requirements of

intervention as of right. Floyd v. City of New York, 770 F.3d 1051, 1057 (2d Cir. 2014). Failure

to satisfy any one of the requirements of mandatory intervention is sufficient grounds to deny a

motion to intervene. See In re Bank of New York Derivative Litig., 320 F.3d 291, 300 (2d Cir.

2003) (internal citation and quotation marks omitted). When a putative intervenor and a named

party “have the same ultimate objective,” a presumption of adequate representation attaches that

can be rebutted by evidence of “collusion, adversity of interest, nonfeasance, or incompetence.”

Butler, Fitzgerald & Potter v. Sequa Corp., 250 F.3d 171, 179–80 (2d Cir. 2001).

        The only relevant question is whether Ontario Teachers’ adequately represents HMG’s

interests. Ontario Teachers’ and HMG plainly do have the same ultimate objective: they want to

recover for Teva ADS holders. Thus, a presumption of adequate representation attaches to

Ontario Teachers’ that HMG must rebut. HMG first alleges that Ontario Teachers’ does not

have a personal stake in recovering for losses on Teva ADS in the St. Petersburg class period



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because Ontario Teachers’ stopped buying Teva ADS in September 2016 and, since then, has

sold some of its Teva ADS holdings. See App. D to SAC, Doc. No. 310. But, again, a lead

plaintiff in a consolidated securities class action need not have purchased shares all the way until

the end of the class period. See Vivendi Universal, 242 F.R.D. at 87; In re Cendant Corp. Litig.,

182 F.R.D. 476, 477–79 (D.N.J. 1998) (rejecting an argument that lead plaintiffs would have a

“disincentive” to prove the claims of putative class members who purchased common stock after

lead plaintiff stopped purchasing common stock because accepting that argument would “injure

the purpose of the PSLRA by fragmenting the plaintiff class and decreasing client control”); In

re Synergy Pharm. Inc. Sec. Litig., 2019 WL 6150713, at *5–6 (E.D.N.Y. Nov. 20, 2019).

          HMG also suggests that the SAC—and the concessions that the Defendants have made—

are evidence of “collusion” between the parties in this action. That assertion is speculation and

runs counter to the evidence. There is no reason to believe that the SAC was the product of

anything other than an arms-length bargain. As the Plaintiffs point out, the filing of the SAC and

subsequent consolidation of all the Related Actions will confer benefits on the purported class

members in St. Petersburg: their claims, filed in 2019, will not be subject to a motion to dismiss

and will begin discovery at the same time as this action, which has already been in litigation for

years. See Ontario Teachers’ Opp’n to HMG’s Mot. to Intervene, Doc. No. 324, at 18. The

Defendants emphasize that consenting to the SAC benefitted them by streamlining the litigation

against them, which they have been trying to do for years as evidenced by their proactively

seeking to transfer all the Related Actions to this district. See Defs.’ Mem. in Opp’n to Mot. to

Intervene, Doc. No. 325, at 9–10. For the foregoing reasons, HMG’s motion to intervene, doc.

no. 312, is denied.

   III.      Conclusion



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       For the foregoing reasons, the parties’ joint motion to consolidate, doc. no. 311, is

granted. The clerk is directed to consolidate into this action all the cases listed above in

footnotes 2 and 3. The Internationale Kapitalanlagegesellschaft mbH v. Teva Pharm. Indus.,

Ltd., et al. case, No. 3:20-cv-83, which was transferred to me on January 31, 2020—after the

consolidation briefing had concluded—shall also be consolidated into this action for all pre-trial

purposes.



       So ordered.

Dated at Bridgeport, Connecticut, this 10th day of March 2020.


                                                              /s/ STEFAN R. UNDERHILL
                                                              Stefan R. Underhill
                                                              United States District Judge




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